  Case 3:19-cv-00921-JAG Document 24 Filed 10/16/20 Page 1 of 4 PageID# 91




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

DUSTIN DYER,                                          )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )    Case No. 3:19-cv-921-JAG
                                                      )
SHIRRELLIA SMITH, et al.,                             )
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

  MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO PARTICIPATE AS
    AMICI CURIAE IN SUPPORT OF NEITHER PARTY WITH RESPECT TO
                  DEFENDANTS’ MOTION TO DISMISS


       Professor Katherine Mims Crocker of William & Mary Law School and Professor

Brandon Hasbrouck of Washington & Lee School of Law state as follows in support of their

motion for leave to participate as amici curiae in this action in support of neither party with

respect to Defendants’ Motion to Dismiss.

       Neither the Federal Rules of Civil Procedure nor the Local Rules of this Court

specifically address the participation of amici curiae. Thus Professors Crocker and Hasbrouck

have filed this memorandum consistent with the requirements of Rule 29 of the Federal Rules of

Appellate Procedure and Local Rule 29(a) and (b) of the U.S. Court of Appeals for the Fourth

Circuit. See Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008) (“District

courts have inherent authority to appoint or deny amici which is derived from Rule 29 of the

Federal Rules of Appellate Procedure.”).
      Case 3:19-cv-00921-JAG Document 24 Filed 10/16/20 Page 2 of 4 PageID# 92




I.        INTEREST OF MOVANTS

          Professors Crocker and Hasbrouck are scholars in the area of civil rights with an interest

in the development of the Bivens doctrine. Professor Crocker’s scholarship focuses on federal

courts and structural constitutional law. She has published several scholarly articles, including

on the topic of qualified immunity. Professor Hasbrouck’s scholarship focuses on constitutional

law, federal courts, and other topics. He has published scholarly articles on the topic of civil

rights.

II.       AN AMICUS BRIEF IS DESIRABLE AND THE MATTERS THAT WILL BE
          ASSERTED ARE RELEVANT TO THE DISPOSITION OF THE CASE

          Professors Crocker and Hasbrouck have extensive experience in the areas of

constitutional law and civil rights. Their research and academic background give them a unique

perspective on these issues. They intend to file a brief in support of neither party. Professors

Crocker and Hasbrouck will express solely their own views and not the views of their

institutions.

III.      CONCLUSION

          WHEREFORE, Professors Crocker and Hasbrouck respectfully request that their motion

be granted. Professors Crocker and Hasbrouck request leave to file an amicus brief on or before

December 11, 2020.


Dated: October 16, 2020                        Respectfully submitted,

                                               /s/ Brian D. Schmalzbach

                                               Brian D. Schmalzbach (VA Bar # 88544)
                                               McGuireWoods LLP
                                               Gateway Plaza
                                               800 East Canal Street
                                               Richmond, VA 23219
                                               Telephone: (804) 775-4746



                                                   2
Case 3:19-cv-00921-JAG Document 24 Filed 10/16/20 Page 3 of 4 PageID# 93




                                Facsimile: (804) 698-2304
                                bschmalzbach@mcguirewoods.com

                                Katherine Mims Crocker (VA Bar # 87430)
                                William & Mary Law School
                                P.O. Box 8795
                                Williamsburg, VA 23187-8795
                                Telephone: (757) 221-3758
                                kmcrocker@wm.edu

                                Anne L. Doherty (pro hac vice forthcoming)
                                McGuireWoods LLP
                                201 N. Tryon Street, Suite 3000
                                Charlotte, NC 28202
                                Telephone: (704) 373-4633
                                Facsimile: (704) 343-2300
                                adoherty@mcguirewoods.com

                                Attorneys for Amici Curiae Crocker and Hasbrouck




                                   3
  Case 3:19-cv-00921-JAG Document 24 Filed 10/16/20 Page 4 of 4 PageID# 94




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system. A copy has also been served via first class, postage

prepaid, U.S. Mail to the following:

       Jonathan Corbett
       958 N. Western Avenue #765
       Hollywood, CA 90029

       Dustin W. Dyer
       9071 W. Broad Street
       Henrico, VA 23294

       John P. O’Herron
       Thompson McMullan, P.C.
       100 Shockoe Slip, 3rd Floor
       Richmond, VA 23219

                                                     /s/ Brian D. Schmalzbach
                                                     Brian D. Schmalzbach (VA Bar # 88544)
                                                     McGuireWoods LLP
                                                     Gateway Plaza
                                                     800 East Canal Street
                                                     Richmond, VA 23219
                                                     Telephone: (804) 775-4746
                                                     Facsimile: (804) 698-2304
                                                     bschmalzbach@mcguirewoods.com




                                                4
